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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                               :
                                              :
                        Plaintiff,            :
 -vs-                                         :   CIVIL ACTION NO. 2:19-cv-05030-JDW
                                              :
 THE MIDDLE EAST FORUM,                       :
 DANIEL PIPES (individually),                 :
 GREGG ROMAN (individually), and              :
 MATTHEW BENNETT (individually)               :
                                              :
                        Defendants.           :

                           JOINT DISCOVERY STATUS REPORT

        Pursuant to this Court’s June 30, 2020 Order (ECF No. 40), Plaintiff Ms. Lisa Barbounis

(“Ms. Barbounis” or “Plaintiff”) and Defendants The Middle East Forum (“MEF”) and Mr.

Gregg Roman (“Mr. Roman”) (“Defendants”) submit the following Joint Discovery Status

Report to the Chambers of the Honorable Joshua D. Wolson.

        Plaintiff’s Completed Discovery: Plaintiff has produced 1055 documents, which were

initially produced in the related action, Brady v. The Middle East Forum, in response to

Defendants Request for Production of Documents. Plaintiff has responded to Defendants’

Interrogatory Requests. Plaintiff has responded to Defendants first, second, third, and fourth

Requests for Admissions. Per an Order from Judge Sanchez in the related trade secret action

involving Plaintiff and MEF, Plaintiff has turned every one of her electronic devices over to

Cornerstone ( this includes two iPhones) for imaging. Plaintiff has also provided Cornerstone

with access to every one of her cloud-based storage accounts, social media and email accounts

for imaging. As these devices and accounts contain privileged, personal, private, information

that has no relevance to the instant matter, per Judge Sanchez’s Order, Cornerstone will search

these devices and accounts using 25 search terms to be decided upon by The Middle East Forum.



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Pursuant to these searches, Plaintiff has agreed to produce all information with certain relevance

and privilege restrictions.

        Plaintiff’s Outstanding Discovery: Plaintiff has to produce the information contained

in her electronic devices, social media accounts, and cloud-based storage accounts. Cornerstone

has reported they are making progress and should be prepared to produce this information this

week

        Defendants’ Completed Discovery: Defendants have produced thousands of pages of

documents which were initially produced in the related action, Brady v. The Middle East Forum,

and made a supplemental production of over 2000 pages of documents on July 13, 2020.

Defendants have taken the deposition of a third party witness, Ms. Delaney Yonchek.

Defendants also took the deposition of Ms. Caitriona Brady. Ms. Brady is a third-party witness

to this action, but was the plaintiff in one of the related actions.

        Defendants’ Outstanding Discovery: Defendants anticipate serving written answers

and objections to Plaintiff’s First Set of Interrogatories early next week. Mr. Gold is working

with Mr. Roman and Mr. Bennett on their document productions. Mr. Gold is also preparing, on

behalf of defendant Mr. Roman, the necessary papers to take depositions of several overseas

witnesses and to issue subpoenas for documents overseas. Defendants have scheduled Ms.

Barbounis to be examined by Barbara Ziv, M.D., on August 31, 2020. Plaintiff believes that

Defendants may be withholding responsive documents and asserts the right to file a motion to

compel if the Parties cannot resolve these issues.

        Depositions: The Parties are continuing to schedule depositions. The following

depositions have been scheduled:

        •      Ms. Barbounis, Plaintiff: August 4, 2020




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        •      Mr. Daniel Pipes, The Forum’s president: August 7, 2020

        •      Mr. Gregg Roman, Defendant: August 13, 2020

        •      Mr. Matthew Bennett, former employee of The Forum: August 14, 2020


        The Parties are continuing to work to schedule depositions for Marc Fink, Esq., and two

of MEF board members, Mr. Steven Levy and Mr. Laurence Hollin.


                                              Respectfully submitted,


Dated: July 28, 2020                          COZEN O’CONNOR

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